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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                FOR THE DISTRICT OF DELA WARE

In re:                                                                 )     Chapter 11
                                                                       )
W. R. GRACE & CO., et aL.,1                                            )     Case No. 01-1139 (JKF)
                                                                       )
Debtors.                                                               )     (Jointly Administered)


          SUMMARY OF THE QUARTERLY VERIFIED FEE APPLICATION
            OF CASNER & EDWARS, LLP FOR COMPENSATION FOR
     SERVICES AND REIMBURSEMENT OF EXPENSES AS SPECIAL LITIGATION
   COUNSEL TO W. R. GRACE & CO., ET AL., FOR THE TWENTY-EIGHTH INTERIM
           PERIOD FROM JANUARY 1,2008 THROUGH MARCH 31, 2008


Name of Applicant:                                                                      Casner & Edwards, LLP

Authorized to Provide Professional Services to:                                         W. R. Grace & Co., et aI., Debtors and
                                                                                        Debtors-in-Possession

Date of Retention:                                                                      September 18, 2001,
                                                                                        effective as of September 18, 2001

Period for which compensation and                                                       January 1,2008 through
reimbursement is sought:                                                                March 31, 2008



           I The Debtors consist of
                                       the following 62 entities: W. R. Grace & Co. (f7a Grace Specialty Chemicals, Inc.), W. R. Grace & Co.-Conn.,
A- i Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amieon, Inc., CB Biomedical, Inc. (f7a Circe Biomedical, Inc.), CCHP,
Inc., Coalgraee, Inc., Coalgraee II, Inc., Creative Food ;:N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
(f7a Dewey and Almy Company), Eearg, Inc., Five Alewife Boston Ltd., G C Limited Parters I, Inc. (f//a Grace Cocoa Limited Parters I, Inc.), G C
Management, Inc. (f7a Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New
Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of   Cuba, Grace Culinary Systems, Inc., Grace Driling
Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services
Corporation, Grace International Holdings, Inc. (f7a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R.
Grace Land Corporation, Graeoal, Inc., Graeoal II, Inc., Guaniea-Caribe Land Development Corporation, Hanover Square Corporation, Homeo
International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f//a GHSC Holding, Inc., Grace JVH, Inc.,
Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f7a Nestor-BNA Holdings Corporation),
MRA Intermedeo, Inc. (f7a Nestor-BNA, Inc.), MRA Staffng Systems, Inc. (f7a British Nursing Association, Inc.), Remedium Group, Inc. (f7a
Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street
Corporation, Axial Basin Ranch Company, CC Partners (f7a Cross Country Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.
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Amount of Compensation sought as actual,
reasonable, and necessar:                                                                      $42,785.50

Amount of Expense Reimbursement sought as
actual, reasonable, and necessar:                                                              $39,275.71

This is a: _ monthly X quarerly application.




3/19/08                   01/01/08 through                $16,37250                    $11,960.75             No objections            No objections
                          01/31/08                                                                            served on counsel        served on counsel

4/8/08                    02/01/08 through                $10,699.00                   $12,800.90             No objections            No objections
                          02/29/08                                                                            served on counsel        served on counsel

5/14/08                   03/01/08 through                $15,714.00                   $14,514.06             Pending                  Pending
                          03/31/08

TOTAL     FOR                                             $42,785.50                   $39,275.71
INTERIM
PERIOD




                       Counsel to Debtors and Debtors-in-Possession have fied certificates of no objection

with the Cour with respect to the Applications for January and Februar 2008 because no objections

were filed with the Cour within the objection period.

                       The Casner attorneys and paraprofessionals who rendered professional services II

these cases during the Interim Fee Period are2:




           2 Any capitalized terms not defined herein have the meaning ascribed to them in the Quarterly Verified Fee Application of
                                                                                                                               Casner &
Edwards, LLP for Compensation for Services and Reimbursement of Expenses as Special Litigation Counsel to W. R. Grace & Co., et al. for the
Twenty-Seventh Interim Period from January I, 2008 through March 3 I, 2008.




                                                                               2
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Robert A. Murphy             Senior Counsel   41       Litigation        $295.00                 11.00              $3,245.00

Robert A. Murphy             Senior Counsel   41       Litigation       No Charge                 0.25                   $0.00

Donna B. MacKenna            Parner           24       Litigation        $260.00                  0.10                  $26.00

Matthew T. Murphy            Associate        20       Litigation        $255.00                 18.30              $4,666.50

Angela R. Anderson           Paralegal        24       Litigation        $110.00                316.80            $34,848.00

TOTALS                                                                                          346.45            $42,785.50


                                                                       Total Fees: $42,785.50


                                                   EXPENSE SUMARY

                                                                                                 . .'.,zATriaiExp.eri'ses .',
                                                                                                  .. 'fortïi'eInteriin'Period .....
Excess Postage                                                                          $4.60                            $0.00

Federal Express                                                                       $133.58                            $0.00

Pacer Online Search                                                                     $9.92                            $0.00

Outside Photocopying                                                                $1,678.40                            $0.00

Photocopying ($0.1 O/page)                                                              $4.00                            $0.00

Rent Reimbursement                                                                 $36,237.41                            $0.00

Miscellaneous                                                                       $1,207.80                            $0.00

SUBTOTALS                                                                          $39,275.71                         $ 0.00



                                                                    Total Expenses: $39,275.71




                                                              3
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               CUMUATIVE COMPENSA nON SUMMAY BY PROJECT CATEGORY




Litigation and Litigation      341.5         28,621.70            $41,310.50              $2,889,787.50
Consulting

Fee Applications, Applicant      5.10          331.55              $1,475.00                   $74,624.50

ZAI Science Trial                0.00         1,454.80                 $0.00                  $169,754.50

Expenses                       N/A             N/A                $39,275.71              $1,122,250.91


ZAI Science Trial Expenses     N/A             N/A                     $0.00                    $9,399.59

TOTALS                         346.45        30,408.05            $82,061.21              $4,265,817.00




Dated: May 14, 2008                         CASNER & EDWARS, LLP


                                                  ~ i~
                                            Robert A. Murhy (                  ,3700)
                                            303 Congress Street
                                            Boston, MA 02210
                                            (617) 426-5900

                                            Special Litigation Counsel
52000.57/436543




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         VERIICATION PURSUANT TO DEL.BANK.LR. 2016-2(t) AND 28 U.S.C. §1746(2)


            I, Robert A. Murhy, Esquire, verify as follows:

            1. I am Senior Counsel with the applicant firm, Casner & Edwards, LLP ("Casner") and


have been admitted to the Bar of the Commonwealth of Massachusetts since 1966. Casner has

rendered professional services in these Chapter 1 i cases as Special Litigation Counsel.

            2. I have read the foregoing application of Casner for compensation and reimbursement


of expenses (the "Twenty-Sixth Quarterly Fee Application"). To the best of my knowledge,


information and belief formed upon the basis of my participation in this case, as well as after

reasonable inquiry, the facts set forth in the foregoing Twenty-Sixth Quarterly Fee Application are

true and correct and materially comply with the applicable orders, rules, guidelines and requirements

as set forth by the Banptcy Code, Local Rule 2016-2, the Federal Rules of                       Banptcy Procedure,

this Bankptcy Cour and the Executive Office for the United States Trustees.



           I verify under penalty of perjur that the foregoing is tre and correct.




Executed on: May 14, 2008




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                                   IN THE UNITED STATES BANKUPTCY COURT
                                                     FOR THE DISTRCT OF DELA WARE

In re:                                                                       ) Chapter 11
                                                                             )
W. R. GRACE & CO., et al.,1                                                  ) Case No. 01-1139 (JK)
                                                                             )
Debtors.                                                                     ) (Jointly Administered)



                             QUARTERLY VERIFIED FEE APPLICATION
                        OF CASNER & EDWARDS, LLP FOR COMPENSATION
                      FOR SERVICES AND REIMBURSEMENT OF EXPENSES AS
                   SPECIAL LITIGATION COUNSEL TO W. R. GRACE & CO., ET AL.,
                        FOR THE TWENTY-EIGHTH INTERIM PERIOD FROM
                            JANUARY 1, 2008 THROUGH MARCH 31, 2008

                        Pursuant to sections 327, 330 and 331 of title 11 of the United States Code (as

amended, the "Banptcy Code"), Fed. R. Bank. P. 2016, the Retention Order (as defined below),

the Amended Administrative Order Under 11 U.S.C. §§ 105(a) and 331 Establishing Revised

Procedures for Interim Compensation and Reimbursement of Expenses for Professionals and Official

Committee Members (the "Revised Compensation Procedures") and Del.Bank.LR 2016-2, the law




            I The Debtors consist of
                                        the following 62 entities: W. R. Grace & Co. (f7a Grace Specialty Chemicals, Inc.), W. R. Grace & Co.-Conn.,
A- I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amieon, Inc., CB Biomedical, Inc. (f7a Circe Biomedical, Inc.), CCHP,
Inc., Coalgraee, Inc., Coalgraee II, Inc., Creative Food ::N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
(f7a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Parters I, Inc. (f7a Grace Cocoa Limited Partners I, Inc.), G C
Management, Inc. (fl/a Grace Cocoa Management, Inc.), GEe Management Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New
Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of   Cuba, Grace Culinary Systems, Inc., Grace Driling
Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services
Corporation, Grace International Holdings, Inc. (fl/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R.
Grace Land Corporation, GraeoaI, Inc., Graeoal II, Inc., Guaniea-Caribe Land Development Corporation, Hanover Square Corporation, Homeo
International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f7a GHSC Holding, Inc., Grace NH, Inc.,
Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f7a Nestor-BNA Holdings Corporation),
MRA Intermedco, Inc. (f7a Nestor-BNA, Inc.), MRA Staffng Systems, Inc. (f7a British Nursing Association, Inc.), Remedium Group, Inc. (f7a
Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street
Corporation, Axial Basin Ranch Company, CC Partners (f7a Cross Countr Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.
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firm of Casner & Edwards, LLP ("Applicant" or "Casner"), Special Litigation Counsel for the above-

captioned debtors and debtors in possession (collectively, the "Debtors") in their Chapter 11 cases,

hereby applies for an order allowing it (i) compensation in the amount of $42,785.50 for the

reasonable and necessar legal services Casner has rendered to the Debtors and (ii) reimbursement for

the actual and necessar expenses that Casner incured in the amount of $39,275.71 (the "Quarerly

Fee Application"), for the twenty-eighth interim period from January 1, 2008 through March 31, 2008

(the "Interim Fee Period"). In support of             this Application, Casner respectfully states as follows:

                                                         Backf!round

Retention of Casner

                          1. On April 2, 2001 (the "Petition Date"), the Debtors each filed voluntary
petitions for relief under chapter 11 of the Bankptcy Code (collectively, the "Chapter 11 Cases").

On April 2, 2001, the Cour entered an order procedurally consolidating the Chapter 11 Cases for

administrative puroses only. Since the Petition Date, the Debtors have continued to operate their

businesses and manage their properties as debtors in possession pursuant to sections 1107(a) and

1108 of the Bankptcy Code.

                          2. By this Cour's order dated September 18, 2001, the Debtors were authorized


to retain Casner as Special Litigation Counsel, effective as of the Petition Date (the "Retention

Order"). The Retention Order authorizes the Debtors to compensate Casner at Casner's hourly rates

charged for services of              this tye and to be reimbursed for actual and necessary out-of-pocket expenses


that it incured, subject to application to this Cour in accordance with the Banptcy Code, the

Federal Rules of Bankptcy Procedure, and all applicable local rules and orders of this Cour. On

April     19, 2002, this Cour entered the Revised Compensation Procedures, pursuant to which this Fee

Application is being filed.



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Monthlv Fee Applications Covered Herein

                        3. Pursuant to the procedures set forth in the Revised Compensation Procedures,


professionals may apply for monthly compensation and reimbursement (each such application, a

"Monthly Fee Application"), and the notice parties listed in the Revised Compensation Procedures

may object to such request. If no notice part objects to a professional's Monthly Fee Application

within twenty (20) days after the date of service of the Monthly Fee Application, the applicable


professional may submit to the Cour a certificate of no objection whereupon the Debtors are

authorized to pay interim compensation and reimbursement of 80% of the fees and 100% of the

expenses requested.

                        4. Furhermore, and also pursuant to the Revised Compensation Procedures,

professionals are to file and serve upon the notice paries a quarerly request (a "Quarterly Fee

Application") for interim Cour approval and allowance of                   the Monthly Fee Applications filed during

the quarter covered by that Quarterly Fee Application. If the Cour grants the relief requested by the

Quarterly Fee Application, the Debtors are authorized and directed to pay the professional 100% of

the fees and expenses requested in the Monthly Fee Applications covered by that Quarterly Fee


Application less any amounts previously paid in connection with the Monthly Fee Applications. Any

payment made pursuant to the Monthly Fee Applications or a Quarterly Fee Application is subject to

final approval of all fees and expenses at a hearing on the professional's final fee application.

                        5. This is the twenty-sixth Quarterly Fee Application for compensation for

services rendered that Casner has fied with the Banptcy Cour in connection with the Chapter 11

Cases, which covers the twenty-eighth Interim Fee Period of January 1, 2008 through March 31,

2008, encompassing the months of January through March 2008.




                                                                   3
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                6. Casner has filed the following Monthly Fee Applications for interim

compensation during this Interim Fee Period:

                1. Summary of the Seventy-Sixth Monthly Application of Casner & Edwards,
                      LLP for Compensation for Services and Reimbursement of Expenses as
                      Special Litigation Counsel to Debtors for the Period from Januar 1, 2008
                      through Januar 31, 2008, fied March 19, 2008, (the "Januar Fee
                      Application") attached hereto as Exhibit A.

                2. Summary of the Seventy-Seventh Monthly Application of Casner & Edwards,
                      LLP for Compensation for Services and Reimbursement of Expenses as
                      Special Litigation Counsel to Debtors for the Period from Februar 1, 2008
                      through Februar 29, 2008, fied April 8, 2008, (the "February Fee
                      Application") attached hereto as Exhibit B.

                3. Summary of the Seventy-Eighth Application of Casner & Edwards, LLP for
                      Compensation for Services and Reimbursement of Expenses as Special
                      Litigation Counsel to Debtors for the Period from March 1, 2008 through
                      March 31, 2008, filed May 9, 2008, (the "March Fee Application") attached
                      hereto as Exhbit C (collectively, the Januar Application, the February
                      Application and the March Application are the "Applications").

                7. Casner has not filed any other Quarerly Fee Applications or Monthly Fee


Applications durng this Interim Fee Period. The periods for objecting to the fees and expense

reimbursement requested in the January and February Fee Applications have passed without any

objection being fied, whereupon the Debtors filed certificates of no objection with the Cour for the

January Fee Application and the February Fee Application, but Debtors have not yet paid. The period

for objecting to the fees and expense reimbursement requested in the March Fee Application has not

yet expired.

                8. Casner has advised and represented the Debtors in connection with litigation


strategy, in particular, asbestos bodily injur litigation and with respect to the maintenance and

operation of the Debtors' document repository and any futue production of documents from the




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repository to plaintiffs. Casner has performed various professional services that are described in the

Applications.

Requested Relief

                         9. By this twenty-sixth Quarterly Fee Application, Casner requests that the Cour


approve the interim allowance of compensation for professional services rendered and the

reimbursement of actual and necessary expenses incured by Casner for the twenty-eighth Interim Fee

Period, which is from January 1, 2008 through March 31, 2008, as detailed in the Applications, less

any amounts previously paid to Casner pursuant to the Applications and the procedures set forth in

the Revised Compensation Procedures.2 As stated above, the full scope of services provided and the

related expenses incured are fully described in the Applications, which are attached hereto as


Exhibits A through C.

Disinterestedness

                         10. As disclosed in the Affidavit of Robert A. Murhy in Support of the

Application of the Debtors to employ Casner & Edwards, LLP as Special Litigation Counsel to the

Debtors, (the "Murphy Affidavit"), filed August 13, 2001, Casner does not hold or represent any

interest adverse to the estates, and is a disinterested person as that term is defined in section 10 1 (14)


of   the Bankptcy Code as modified by section 1107(b) of                                the Bankptcy Code.

                         11. Casner may in the past have represented, may curently represent, and likely in

the futue wil represent paries-in-interest in connection with matters unelated to the Debtors and the


Chapter 11 Cases. Casner disclosed in the Murhy Affdavit its connections to parties-in-interest that




            2 Casner reserves the right to seek at a later date compensation for services rendered and reimbursement for expenses incurred during the
January I, 2008 through March 3 I, 2008 period that are not otherwise included in the relevant Applications.




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it has been able to ascertain using its reasonable efforts. Casner wil update the Murhy Affidavit

when necessary and when Casner becomes aware of any material new information.

Representations

                     12. Casner believes that the Application is in compliance with the requirements of


Del.Bank.LR 2016-2.

                     13. Casner performed the services for which it is seeking compensation on behalf

of or for the Debtors and their estates, and not on behalf of any committee, creditor or other person.

                     14. Casner has not received payment for any of the services performed and

expenses incured that are presented in the Application.

                     15. Pursuant to Fed. R. Ban. P. 2016(b), Casner has not shared, nor has agreed to


share, (a) any compensation it has received or may receive with another part or person other than

with the parners, counsel and associates of Casner, or (b) any compensation another person or part

has received or may receive in connection with the Chapter 11 Cases.

                     16. Although every effort has been made to include all fees and expenses from the

Interim Fee Period in the Application, some fees and expenses from the Interim Fee Period might not

be included in the Application due to accounting and processing delays. Casner reserves the right to

make fuher application to the Cour for allowance of fees and expenses for the Interim Fee Period

not included herein.

                     WHEREFORE, Casner respectfully requests that the Cour enter an order providing

(a) that, for the Interim Fee Period January i, 2008 through March 31, 2008, an administrative

allowance be made to Casner in the sum of (i) $42,785.50 as compensation for reasonable and

necessary professional services rendered to the Debtors and (ii) in the sum of $39,275.71 for


reimbursement of        actual and necessary costs and expenses incured, for a total of                   $82,061.21, (b) that



                                                                           6
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the Debtors be authorized and directed to pay to Casner the outstanding amount of such sums less any

sums previously paid to Casner pursuant to the Applications and the procedures set fort in the


Revised Compensation Procedures and (c) that this Cour grant such fuher relief as is equitable and

just.




Dated: May 14, 2008                         CASNER & EDWARS, LLP



                                                                         3700)




                                            Special Litigation Counsel
52000.57/436543




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